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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X

 UNITED STATES OF AMERICA,                                             CONSENT TO PROCEED BY
                                                                       VIDEO OR TELE CONFERENCE
                          -against-
                                                                       20 Cr.576(PMH)
Sequamn Storts
                           Defendant(s).
-----------------------------------------------------------------X

Defendant Sequamn Storts hereby voluntarily consents to participate in the following proceeding
via ☒ videoconferencing or ☒ teleconferencing:

☐       Initial Appearance Before a Judicial Officer

☐       Arraignment (Note: If on Felony Information, Defendant Must Sign Separate Waiver of
        Indictment Form)

☐       Guilty Plea/Change of Plea Hearing

☐       Bail/Detention Hearing

☒       Conference Before a Judicial Officer



_______________________________
   Sequamn Storts by                                         ______________/s/___________________
Defendant’s Signature                                        Defendant’s Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

______Sequamn Storts                                         Susanne Brody
Print Defendant’s Name                                       Print Counsel’s Name


This proceeding was conducted by reliable video or telephone conferencing technology.

January 12, 2021___                                          _________________________________
Date                                                         U.S. District Judge Philip M. Halpern
                                                             Southern District of New York
